       Case 1-19-43516-ess       Doc 219      Filed 08/10/21   Entered 08/11/21 16:57:02




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 In re:
                                                                    Case No. 1-19-43516-ess
 MICHAEL KRICHEVSKY                                                 Chapter 11

                                                                    ORDER GRANTING
                               Debtor In Possession                 MOTION FOR A
                                                                    PROTECTIVE ORDER

 MICHAEL KRICHEVSKY

                                Plaintiff Under Duress, DIP
                                                                    Adversary Proceeding No.:
 vs.                                                                1-21-01013

 US BANK, NA, WELLS FARGO BANK, NA, WELLS
 FARGO HOME MORTGAGE, KELLY DUNCAN,
 WELLS FARGO HOME MORTGAGE, STEPHANIE
 TERESE TAUTGE, DANIEL V. EDWARD, BANC OF
 AMERICA FUNDING CORPORATION, VERIPRISE
 PROCESSING SOLUTIONS LLC, CHARICE LENISE
 GLADDEN, WOODS OVIATT GILMAN, LLP,
 DONALD W. O'BRIEN, JR., NATALIE A. GRIGG,
 ALEKSANDRA K. FUGATE, BRITTANY J. MAXON,
 DAVID BRUCE WILDERMUTH, BRETTANIE L.
 HART SAXTON, VICTORIA E. MUNIAN, MICHAEL
 THOMAS JABLONSKI, MIRANDA L. SHARLETTE
 A/K/A MIRANDA JAKUBEC, FRENKEL LAMBERT
 WEISS WEISMAN GORDON, LLP, BARRY M.
 WEISS, PROVEST, LLC, WOODY DORSONNE, REED
 SMITH LLP, NATSAYI MAWERE, JENNIFER L.
 ACHILLES, ESTATE OF DISEASED [DECEASED]
 NOACH DEAR, SHMUEL TAUB, STEVEN J. BAUM,
 P.C. STEVEN J. BAUM, ELPINIKI M. BECHAKAS,
 JANE AND JOHN DOE 1- 100, INDIVIDUALS NAMES
 TO BE DISCOVERED, AND JEREMIAH HERBERG,

                                Defendants.


       Upon the Motion for a Protective Order dated July 14, 2020 of Natalie A. Grigg, Esq.

("Grigg") for an order pursuant to Federal Rule of Civil Procedure 26(c) as incorporated by
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       Federal Rule of Bankruptcy Procedure 7026 striking Debtor In Possession Michael

Krichevsky's ("Debtor") First Combined Discovery Requests as issued against Natalie A. Grigg,

individually; and

       WHEREAS, this Court held a hearing on July 28, 2021, at which the Debtor, the United

States Trustee, Frenkel Lambert Weiss Weisman & Gordon, LLP, Barry M. Weiss, Esq., Wells

Fargo Bank, N.A., as servicing agent for U.S. Bank National Association, Woods Oviatt Gilman

LLP, Ms. Grigg, Aleksandra K. Fugate, Esq., Brettanie L. Hart Saxton, Esq., Brittany J. Maxon,

Esq., David Bruce Wildermuth, Esq., Victoria E. Munian, Esq., Michael Thomas Jablonski,

Esq., Donald W. O’Brien, Jr., Esq., Miranda L. Shartlette a/k/a Miranda Jakubec, Esq., Victoria

E. Munian, Esq., U.S. Bank National Association, as Trustee for Banc of America Funding

Corporation Mortgage, ProVest LLC, Woody Dorsonne, Steven J. Baum, P.C., Steven J. Baum,

Esq., Elpiniki M. Bechakas, Esq., Select Portfolio Servicing, Inc., Banc of America Funding

Corporation, Reed Smith LLP, Natsayi Mawere, Esq., Jennifer L. Achilles, Esq., Kelly Duncan,

Stephanie Terese Tautge, Daniel V. Edward, and Charice Lenise Gladden appeared and were

heard; and having considered the evidence presented, and the arguments of the parties, and with

good cause appearing therefor; it is hereby

       WHEREAS, at the July 28, 2021 hearing, the Court granted the Motion for a Protective

Order on grounds, among others, that the Debtor’s First Combined Discovery Requests seeks

solely information that Ms. Grigg, the subject of the requests, learned in the context of her

representation of her client and, therefore, seeks information that is protected from discovery by

the attorney client privilege and attorney work product doctrine.

       NOW THEREFORE, it is hereby

       ORDERED that the Motion for a Protective Order is hereby granted in its entirety, without
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prejudice to allow Debtor to submit discovery demands to an appropriate party for the reasons

stated herein, and based on the entire record, including the record of the July 28, 2021 hearing,

the Motion for a Protective Order is granted; and it is further

       ORDERED, that this relief is without prejudice to a request for discovery that seeks

information that is not protected from discovery by the attorney client privilege, the attorney

work product doctrine, or other applicable privilege or doctrine under the Bankruptcy Code, the

Bankruptcy Rules, and the Federal Rules of Civil Procedure.




                                                                   ____________________________
  Dated: Brooklyn, New York                                               Elizabeth S. Stong
         August 10, 2021                                           United States Bankruptcy Judge
